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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA

 EITAN BARR, individually,
 and on behalf of all others similarly          Case 8:23-cv-02695
 situated,

                  Plaintiff,
        v.


 MACYS.COM, LLC, an Ohio limited
 liability company,

                  Defendant.

                               NOTICE OF RESOLUTION

      Plaintiff Eitan Barr (“Plaintiff”), for himself and on behalf of Defendant

Macys.com, LLC (“Defendant” and together with Plaintiff, the “Parties”), with

Defendant’s notice and permission, hereby informs the Court that the Parties have

reached a tentative resolution of all the Parties’ differences and disputes in the above-

captioned matte, on an individual (non-class) basis. The Parties anticipate that a notice

of voluntary dismissal of Plaintiff’s individual claims against Defendant will be filed in

the next sixty (60) days. In the meantime, the Parties respectfully request that the Court

vacate any and all pending deadlines and stay the case, and that the Court retain

jurisdiction and not dismiss the matter at this time.

Dated: February 6, 2024                         Respectfully submitted,

                                                By: /s/ Avi R. Kaufman
                                                Avi R. Kaufman
                                                kaufman@kaufmanpa.com
                                                KAUFMAN P.A.

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                                              Coral Gables, FL 33133
                                              Telephone: (305) 469-5881


                                              Counsel for Plaintiff and the putative class


                          CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing was served on all Parties and their

counsel of record through the Court’s CM/ECF filing system on February 6, 2024.

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                                              By: /s/ Avi R. Kaufman




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